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                    UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

 In re:                                  )     Chapter 11
                                         )     Case No. 25-40976-357
                                         )     Jointly Administered
 23ANDME HOLDING CO., et al.,            )
                                         )     Hon. Brian C. Walsh
                                         )     U.S. Bankruptcy Judge
                      Debtors.           )
                                         )     Hearing Date:      April 29, 2025
                                         )     Hearing Time:      1:30 p.m.
 ___________________________             )     Hearing Location:
                                         )     Thomas F. Eagleton U.S. Courthouse
 JERRY L. JENSEN,                        )     111 S. 10th Street
 Acting United States Trustee,           )     Courtroom 5 North
                    Movant,              )     St. Louis, MO 63102
                                         )
                      v.                 )     Response Due:       April 29, 2025
                                         )
 23ANDME HOLDING CO., et al.,            )
                                         )
                      Respondents.       )

   UNITED STATES TRUSTEE’S (I) MOTION FOR APPOINTMENT OF
   CONSUMER PRIVACY OMBUDSMAN OR, IN THE ALTERNATIVE,
     APPOINTMENT OF AN EXAMINER AND (II) OBJECTION TO
    DEBTORS’ MOTION FOR APPOINTMENT OF INDEPENDENT
              CUSTOMER DATA REPRESENTATIVE

          COMES NOW, Acting United States Trustee, Jerry L. Jensen (the “United

 States Trustee”), and moves this Court for an order directing the United States

 Trustee to appoint a Consumer Privacy Ombudsman (“CPO”) pursuant to 11 U.S.C.

 §§ 332 and 363(b)(1) and Fed. R. Bankr. P. 6004(g) in connection with the proposed

 sale or transfer of customer information by 23andMe Holding Co., and with its
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 affiliated debtor entities (collectively, the “Debtors” or “23andMe”), or, in the

 alternative, for an order directing the appointment of an examiner under 11 U.S.C.

 § 1104(c); and objects to the Debtors’ Motion for entry of an order appointing an

 “Independent Customer Data Representative” (the “CDR Motion”) (Doc. 169).


                                   INTRODUCTION

        These chapter 11 cases present unique circumstances that will require the Court

 to balance the Debtors’ need to maximize the value of their estate against the privacy

 interests of their customers. Among the Debtors’ most valuable assets are databases

 containing genetic, health, and personal information for more than 15.5 million

 individual customers. These records include some of the most private and sensitive

 personal information imaginable, and as the Debtors’ prior experience with a large-

 scale privacy breach unfortunately demonstrates, many individuals may face untold

 and irreparable harms if that information is again breached, misdirected, or misused.

 Among other risks, the misuse of genetic data poses substantial risk of “synthetic

 identity theft” (criminals’ use of stolen personally identifiable information, including

 genetic data, to create false identities) and, in some circumstances, risks to the national

 security of the United States.

        Because the personal genetic information of the Debtors’ customers is likely to

 be included in any proposed sale of the Debtors’ assets, the Court will be faced with

 difficult questions about whether that data can be sold at all consistent with the

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 Debtors’ privacy policies in effect on the petition date with respect to each of its 15.5

 million customers, other applicable nonbankruptcy laws and regulations, and the

 public interest. And if that data can be sold, the Court must consider what privacy

 guardrails should be imposed consistent with those applicable laws and privacy

 policies. This undertaking requires the expertise of an independent and neutral privacy

 professional whose loyalties lie to the estate, its individual customers, and stakeholders

 as a whole.

        The goals of protecting consumer privacy and maximizing estate value,

 however, are not necessarily incompatible. The more confidence that consumers have

 in the safety and security of their personal data during a sale process and after, the

 more data the Debtors will be able to sell (assuming it can be sold). The United States

 Trustee’s appointment of a neutral, third-party privacy professional could reassure

 individuals about the safety and security of their data, resulting in fewer account

 deletions—a “win-win” for all stakeholders.

        The Court should direct the United States Trustee to appoint a CPO under

 section 332 of the Bankruptcy Code, a provision enacted by Congress to address the

 very public policy concerns here. In the alternative, if the Court determines that the

 statutory requirements for appointment of a CPO are not satisfied or exercises its

 discretion not to direct the appointment of a CPO, the United States Trustee requests

 that the Court order the appointment of an examiner under section 1104(c)(1) of the

 Bankruptcy Code as in the “interests of creditors, any equity security holders, and
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 other interests of the estate” to investigate and to report on the privacy issues

 implicated by the Debtors’ proposed sale of assets.

          Although the Debtors have not consented to the appointment of a CPO or an

 examiner, they acknowledge the need for oversight of their privacy practices and any

 sale of customer data through their own motion for the appointment of a non-

 statutory “Independent Customer Data Representative” (the “CDR”). Although the

 relief sought by the Debtors and the United States Trustee may seem superficially

 similar, there are critical differences between the two motions. Most importantly, the

 Debtors seek the right to handpick their own CDR, in contrast to the independent

 appointment process for the CPOs and examiners mandated by the Bankruptcy Code.

 Furthermore, the role of the Debtors’ proposed CDR would be far narrower than that

 of a CPO or examiner. In particular, under the Debtors’ proposed CDR protocol, the

 CDR’s investigation would apparently be limited to analyzing a proposed sale against

 the baseline of the Debtors’ current privacy policy. Unlike a CPO or examiner, the

 CDR would not consider broader questions of whether that sale complies with

 applicable nonbankruptcy law, public policy, or whether the Debtors’ previous, more

 restrictive privacy policies may still be “in effect” regarding certain customers,

 especially those who have not used the Debtors’ services in years or agreed to updated

 terms.

          Given the paramount importance of privacy and data security issues in this

 case, there is no reason for the Court to bypass the privacy and oversight provisions
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 set forth in the Bankruptcy Code for these exact circumstances. The Court should

 direct the appointment of a CPO in accordance with sections 332 and 363 or an

 examiner under section 1104, and it should deny the Debtors’ motion for the

 appointment of a non-statutory CDR.

                                     BACKGROUND

 I.       The Debtors’ Business Involves the Collection of Extensive Customer
          Data.

          The Debtors operate a consumer-facing genetic testing, telehealth services, and

 biomedical research business. 23andMe collects, analyzes, and stores extensive

 amounts of personally identifiable and sensitive genetic information from millions of

 customers. This information gathering process is initiated when a customer submits

 an at-home saliva kit to the Debtors for laboratory analysis.1 23andMe then provides

 the customer with reports related to ancestry, health risks, and genetic traits. Through

 this business model, 23andMe has amassed one of the largest private databases of

 human genetic data (in addition to other customer information), encompassing the

 profiles of more than 15.5 million individuals.2

          Beyond direct-to-consumer services, 23andMe monetizes its data through

 research partnerships with pharmaceutical companies and research institutions to

 support drug development and biomedical research. According to the Debtors, more



 1
     Kvarda Declaration, Doc. 32, at ¶ 27.
 2
     Id. at ¶ 19.
                                             5
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 than 80% of their customers, or about 12.9 million people, have consented to the use

 of their data in biomedical research.3

 II.   The Scope and Scale of Personal Customer Data Held by the Debtors is
       Immense.

       The Debtors have disclosed that, as part of their businesses, they maintain a

 broad collection of sensitive personal information about their customers, including:

           • customer names, addresses, emails, phone numbers, dates of birth, and

              payment information;

           • genetic information, including raw genotype data and accompanying

              reports;

           • laboratory values and other information derived from saliva samples

              submitted by users;

           • self-reported user information, including health history, ethnicity, family

              medical background, and lifestyle traits;

           • customer biometric information used to verify customer identity;

           • user-generated content posted to or through 23andMe; and

           • internet tracking and usage analytics collected from users via cookies and

              other tracking devices.4



 3
  Id. at ¶ 38.
 4
  https://www.23andme.com/legal/privacy/full-version/ (last updated March 14,
 2025).
                                      6
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        Unlike other types of personally identifiable information, genetic data is

 biologically unique, permanent, and unalterable. Even when anonymized, genetic

 information can be re-identified using external databases, such as public genealogy

 websites or data obtained through prior breaches.5 “With the emergence of large

 genomic databases, de-identified genetic data for research and business purposes can

 be linked to individuals using genomic software and public information, creating a

 significant re-identification risk.”6

        As the Debtors’ own recent history illustrates, genetic information is especially

 vulnerable to sophisticated cyber threats. In October 2023, the Debtors were the

 subject of a cyber-attack that led to the unauthorized accessing of the personal and

 genetic information of approximately seven million customers, which has resulted in

 numerous litigated and regulatory actions against the Debtors, and which was one of

 the events precipitating these chapter 11 cases.7

 III.   The Debtors’ Privacy Policies Provide for Limited Protection of
        Consumer Data.

        The Debtors maintain a privacy policy that they disclose to their customers

 through a Privacy Statement and Medical Record Privacy Notice that can be accessed



 5
   See Zachary Shapiro, Big Data, Genetics, and Re-Identification, BILL OF HEALTH (Apr. 7,
 2025), https://petrieflom.law.harvard.edu/2015/09/24/big-data-genetics-and-re-
 identification/.
 6
   https://news.bloomberglaw.com/us-law-week/23andme-bankruptcy-puts-spotlight-
 on-genetic-privacy-compliance (Apr. 4, 2025).
 7
   Kvarda Declaration, Doc. 32, at ¶¶ 64-77.
                                              7
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 through 23andMe’s website (the “Privacy Statement”).8 Among other terms, the

 current Privacy Statement represents that 23andMe will not voluntarily share

 customer information with “public databases, insurance companies or employers, or

 law enforcement, absent a valid court order, subpoena, or search warrant.”9 The

 current Privacy Statement further represents that disclosures to third parties require

 specific authorization and explicit consent.10

       The Debtors further assure users “[y]ou are in control of your data,” meaning

 “you decide how your information is used and for what purposes.” 11 This includes the

 ability to delete their information and biological samples. According to the current

 Privacy Statement, customers retain the right to delete their data from 23andMe’s

 platform “at any time.” 12 23andMe provides an automated process for users to request

 the deletion of their personal information and biological samples.13

       Under some circumstances, the Debtors may retain customer data, even of

 customers who delete their accounts.14 For example, under “Retention of

 Information,” 23andMe represents it retains “customer genetic information, date of


 8
   https://www.23andme.com/legal/privacy/full-version/ (last updated March 14,
 2025).
 9
   Id.
 10
    Id.
 11
   https://www.23andme.com/privacy/ (last accessed April 10, 2025).
 12
    Id.
 13
    https://customercare.23andme.com/hc/en-us/articles/212170688-Requesting-
 23andMe-Account-Closure (last accessed April 7, 2025).
 14
    https://www.23andme.com/legal/privacy/full-version/ (last updated March 14,
 2025).
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 birth, and sex as required for compliance with applicable legal obligations, including

 the federal Clinical Laboratory Improvement Amendments of 1988 (CLIA), California

 Business and Professions Code Section 1265 and College of American Pathologists

 (CAP) accreditation requirements, even if you chose to delete your account.”15

 (emphasis added).

       In June 2022, the Debtors amended the Privacy Statement to permit the

 transfer of personal information in bankruptcy.16 Specifically, the Privacy Statement,

 under the heading “Data Sharing,” provides:

         Commonly owned entities, affiliates and change of ownership: If
         we are involved in a bankruptcy, merger, acquisition, reorganization,
         or sale of assets, your Personal Information may be accessed, sold or
         transferred as part of that transaction and this Privacy Statement will
         apply to your Personal Information as transferred to the new entity.
         We may also disclose Personal Information about you to our
         corporate affiliates to help operate our services and our affiliates’
         services.17
 Prior to the June 2022 amendment, the Privacy Statement did not mention

 bankruptcy. 18

       Notably, the authorization for data sharing under the Privacy Statement

 appears to be limited to internal reorganizations or transactions in which the Debtors



 15
    Id.
 16
    David Siffert, If 23andMe Goes Bankrupt, What Happens to All Our Data?, 203 N.Y.L.J.
 4 (Jan. 4, 2025).
 17
    https://www.23andme.com/legal/privacy/full-version/ (last updated March 14,
 2025).
 18
    Siffert, supra note 16.
                                             9
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 are sold as a going concern; the Privacy Statement does not address or authorize

 transfers in which the Debtors’ customer data is sold as a separate asset. In addition, it

 is unclear whether the June 2022 version (or any version thereafter) of the Privacy

 Statement applies to all or merely to some of the Debtors’ customers. The Debtors’

 disclosures do not explain the procedures, if any, under which customers were

 required to assent to changes in their privacy policies, and it may be possible that

 some inactive customers (who have not logged on to 23andMe’s website or otherwise

 interacted with the Debtors since 2022 or earlier) may remain subject to older

 versions of the Privacy Statement, which do not include the bankruptcy language

 added in June 2022.

           Apart from the terms of the Privacy Statement, the Debtors’ collection and

 maintenance of customer data is subject to numerous state, federal, and international

 laws and regulations, including the California Consumer Privacy Act, the federal

 Confidentiality of Medical Information Act, and at least ten state genetics privacy

 laws.19

 IV.       The Debtors Filed Chapter 11 Cases in Response to Lower Customer
           Demand, Increased Competition, and a 2023 Data Breach.

           On March 23, 2025, the Debtors filed voluntary petitions for relief under

 chapter 11 of the Bankruptcy Code. As causes for the filings, the Debtors cite

 increased operational costs, declining consumer demand for genetic testing, and


 19
      Kvarda Declaration, Doc. 32, at ¶¶ 54-55.
                                             10
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 increased competition in the genetic testing and telehealth industries.20 23andMe also

 cited litigation and regulatory costs resulting from a significant data breach in October

 2023, compromising the personal information of approximately seven million

 customers. 21

       According to their filings, the Debtors seek to pursue an expedited sale of

 substantially all their assets.22 The Debtors have stated that any potential buyer must

 agree to comply with 23andMe’s existing privacy policy and applicable laws.

 Specifically, the Debtors’ proposed bid procedures require prospective bidders to

 “comply in all respects with the Debtors’ consumer privacy practices” and make a

 statement “acknowledging such compliance.” 23 At the first day hearings on March 26,

 2025, the Debtors represented that the bankruptcy filing and related relief do not

 change how the Debtors store, manage, or collect customer data and that the Debtors

 remain committed to its customers and to being transparent about how their data is

 managed and treated in the bankruptcy.

 V.    The Debtors’ Bidding Procedures Require a Purchaser of Customer
       Data to Comply with the Debtors’ Current Privacy Policy.

       On March 28, 2025, the Court entered an order approving bidding procedures

 for a proposed sale of the Debtors’ assets (the “Bidding Procedures”). 24 Under the


 20
    Id. at ¶¶ 4-5.
 21
    Id. at ¶¶ 7, 64.
 22
    E.g., Bidding Procedures Motion, Doc. 30, at ¶¶ 15-16
 23
    Id. at 12; Bidding Procedures at 11.
 24
    Doc. 125, Exhibit 1.
                                          11
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 Bidding Procedures, the Debtors may consider bids for “all or any portion of” their

 assets, including their repository of the personal and genetic customer information.25

 The Bidding Procedures further state that that prospective bidders must “comply in

 all respects with the Debtors’ consumer privacy practices” and make a statement

 “acknowledging such compliance.”26

       But the Debtors’ alleged commitment to future compliance with their Privacy

 Statement—either by them or any purchaser—is not unequivocal. Despite repeated

 statements that the bid procedures will require any purchaser to abide by the Debtors’

 “consumer privacy practices,” the Debtors gave themselves “an out”: “To the extent

 circumstances arise where any deviation from the Company’s consumer privacy

 practices is warranted and/or necessary, the Debtors will implement any such change

 in accordance with applicable law(s), with adequate notice to applicable parties,

 and/or with necessary relief from this Court, as appropriate.”27

 VI.   The Debtors Filed a CDR Motion.

       On April 7, 2025, the Debtors filed the CDR Motion, which seeks

 authorization for the estate to retain a CDR pursuant to a “CDR Protocol” set forth

 in that motion. 28 The CDR Motion characterizes the proposed CDR as an alternative

 to the CPO, which the Debtors assert is not warranted because the Privacy Statement


 25
    Id. at 2.
 26
    Id. at 11.
 27
    Kvarda Declaration, Doc. 32, at ¶ 112.
 28 CDR Motion, Doc. 169, at ¶¶ 16-21.


                                             12
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 “in effect” on the petition date allegedly authorizes the sale of the Debtors’ customer

 data, as well as based on the Debtors’ assurances that they will require asset

 purchasers to comply with their existing privacy policies. 29

        Under the Debtors’ proposed CDR Protocol, the CDR will be charged with

 reviewing the Debtors’ existing policies, cybersecurity infrastructure, and “other

 relevant information.”30 The CDR’s findings will be reflected in a report that will

 opine on the reasonableness of any proposed sale “after balancing … the interests of

 the Debtors’ customers with respect to the treatment of management of Customer

 Data against the Debtors’ fiduciary obligation to maximize the value of their

 respective estates.”31

                                      ARGUMENT

 I.     Appointment of a CPO is Required under 11 U.S.C. § 332.

               A.      Because the Proposed Sale May Result in the Transfer of
                       Sensitive Personal Information in a Manner Not Authorized
                       by the Privacy Statement, Appointment of a CPO is
                       Mandatory.

        A debtor in bankruptcy may generally sell, with court approval, property of the

 estate outside the ordinary course of business.32 But if that property includes

 “personally identifiable information about individuals,” the Bankruptcy Code imposes



 29 Id. at ¶ 12.
 30 Id. at ¶ 17.
 31 Id. at ¶ 19.

 32
     See 11 U.S.C. § 363(b)(1).
                                             13
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 additional requirements in certain circumstances before any such sale or transfer can

 be approved. If the debtor maintained a privacy policy that restricted the sale of

 personally identifiable information, or if the privacy policy failed to disclose that the

 debtor may sell or transfer that information, the Court must appoint a CPO under

 section 332 of the Bankruptcy Code to assist the Court in its consideration of the sale

 motion (unless it separately finds that the sale is consistent with the privacy policy).33

 In addition, as part of its section 363 hearing, the Court must also consider whether

 such sale “would violate applicable nonbankruptcy law.”34

        In turn, section 332 of the Bankruptcy Code provides that the bankruptcy

 court “shall order” the United States Trustee to appoint a CPO in any case in which a

 hearing is required under section 363(b)(1)(B). 35 Such a CPO must be disinterested

 and must be appointed no later than seven days before the sale hearing. 36 Once

 appointed, the CPO has the duty to “provide . . . information to assist the court” on

 privacy issues, including on the terms of the debtor’s privacy policy and the potential

 harms to consumers that might result from the sale.37




 33
    See 11 U.S.C. § 363(b)(1)(A), (B).
 34
    11 U.S.C. § 363(b)(1)(B)(ii).
 35
    See 11 U.S.C. § 332(a).
 36
    Id. In most cases, a privacy ombudsman needs far more than seven days to
 complete the necessary work, and that will be particularly true here given the scope
 and nature of the personal data Debtors maintain.
 37
    See 11 U.S.C. § 332(b).
                                          14
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        In this case, the customer lists and biographical data collected by the Debtors

 are “personally identifiable information” (also sometimes referred to as “PII”) within

 the meaning of the Bankruptcy Code. 38 In addition, although not explicitly addressed

 in the Bankruptcy Code, the genetic data maintained by the Debtors also falls within

 the definition of “personally identifiable information” because genetic data can be “re-

 identified.”39 “[P]ersonally identifiable information” includes information “that, if

 disclosed, will result in … identifying such individual physically or electronically.”40 It

 is no surprise that the Code does not expressly address genetic and biometric data

 because direct-to-consumer genetic testing did not exist in 2005, when Congress

 added section 332 to the Code. 41 But there can be little doubt that the definition of

 PII is broad enough to encompass genetic data that is itself a form of identification.

 “Even just the identity theft risks become serious, as more and more sources resort to

 biometric forms of identification . . . .”42

        Because a sale of the Debtors’ assets (or a stand-alone sale of the Debtors’

 customer databases) will involve protected personally identifiable information, a

 hearing under section 363(b)(1)(B) (and therefore also the appointment of a CPO

 under section 332) is mandatory unless the Court finds that the sale is fully authorized


 38
    See 11 U.S.C. § 101(41A).
 39
    See supra at 7.
 40
    See 11 U.S.C. § 101(41A)(B)(ii)
 41
    23andMe was the first company to offer the service after the company was founded
 in 2006. Kvarda Declaration, Doc. 32, at ¶ 19.
 42
    Siffert, supra note 16.
                                           15
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 by the Debtors’ privacy policy. But the record of this case is insufficient for the Court

 to make any such finding, for at least two reasons. First, bids for the Debtors’ assets

 have not yet been received, and it unclear whether those assets will eventually be sold

 as a going concern or piecemeal (in which case the “change of ownership” provisions

 of the Privacy Statement may not apply).

        Second, the revised terms of the Privacy Statement are likely unenforceable as

 to customers who submitted their data to 23andMe before June 2022, particularly

 those customers who never affirmatively assented to the revised terms of that

 document:

        The Federal Trade Commission (“FTC”) has made it clear that a
        debtor’s privacy policy on the petition date is not the only privacy policy
        that matters. There are circumstances in which the personal information
        collected by the debtor may be subject to representations in prior privacy
        policies. For example, if a consumer has submitted personal information
        pursuant to a privacy policy that either prohibits its sale or fails to
        disclose that such information may be sold or transferred, the
        consumer’s information may not be sold unless the consumer has
        consented to any subsequent change in the privacy policy to permit such
        a sale. If the consumer has not consented to any subsequent change in
        the privacy policy, the consumer’s personal information may continue to
        be governed by the privacy policy in place at the time his or her personal
        information was submitted or collected.43

 Moreover, for similar reasons, prior privacy policies—that did not disclose the

 possibility of customer data being sold in a bankruptcy—may be the policy in effect

 on the petition date with respect to certain customers’ data:


  Michael St. Patrick Baxter, The Sale of Personally Identifiable Information in Bankruptcy, 27
 43

 AM. BANKR. INST. L. REV. 1, 2 (2019) (footnotes omitted).
                                            16
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           The text of the Bankruptcy Code supports the relevance of a debtor’s
           prior privacy policy to the sale of PII. The requirement for the
           appointment of a consumer privacy ombudsman turns on whether the
           privacy policy “in effect on the date of the commencement of the case”
           prohibits the transfer of PII. The privacy policy “in effect on the date of
           the commencement of the case” does not necessarily refer to the
           debtor’s privacy policy in place on the petition date. Instead, it refers to
           the privacy policy that applies to-—or to use the statutory language, is
           “in effect” with respect to-—the particular PII in question. If, for the
           reasons discussed above, the debtor’s PII is governed by more than one
           privacy policy, the appointment of a consumer privacy ombudsman is
           required if any applicable privacy policy—even if it is a prior privacy
           policy—prohibits the transfer of the PII in question. This can be so even
           if the debtor’s privacy policy on the petition date permits the sale of PII.
           For consumers whose personal information was collected under an
           earlier, more restrictive privacy policy, and who did not consent to any
           subsequent privacy policy, the sale of their PII may violate the privacy
           policy applicable to their PII “in effect on the date of the
           commencement of the case.”44

           The Debtors, however, wholly ignore the possibility that there may have been

 multiple privacy policies in effect on the petition date for different “buckets” of

 consumers and simply assume that only the June 2022 policy applies. A CPO should

 be appointed to investigate and to report on which customers were subject to which

 privacy policy on the petition date and thus whether they consented to the sale of

 their personal data.




 44
      Id. at 12.

                                               17
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        B.     In the Alternative, the Court Should Exercise Its Discretion to
               Appoint a Section 332 CPO.

        Even if the Court determines that the facts of this case do not trigger the

 mandatory CPO appointment under section 332, “the Court has discretion to appoint

 an ombudsman if it believes a neutral third party would be helpful, even if a sale will

 comply with the Debtors’ privacy policy.”45

        Here, the circumstances weigh strongly in favor of the discretionary

 appointment of a CPO even if the Court determines that such appointment is not

 mandatory. The personal information at issue is not simply “garden variety” customer

 lists and financial information. Rather, it includes the most personal and sensitive of

 information—millions of individuals’ health, family, and genetic data.

        Misuse of genetic data presents unique security concerns, including risks of

 discrimination based on genetic predispositions46 and “synthetic identity fraud, where

 criminals exploit genetic information to create false identities or impersonate relatives

 for financial gain.” 47 Misuse of genetic data also poses national security risks: “If



 45
    In re Celsius Network LLC, No. 22-10964, 2022 Bankr. LEXIS 3023 at *22-23
 (Bankr. S.D.N.Y. Oct. 24, 2022) (citing 3 Collier on Bankruptcy ¶ 332.02 (16th ed.
 2022)) (court can “order the appointment of officers or professionals at the expense
 of the estate when the court feels that it could benefit from the additional information
 or assistance that a neutral third party might provide”) (emphasis added).
 46
    Although the Genetic Information Nondiscrimination Act of 2008, 42 U.S.C.
 § 2000ff et seq. (“GINA”), makes discrimination in employment or health insurance
 based on genetic information illegal, the risk of illegal discrimination remains.
 47
    https://news.bloomberglaw.com/us-law-week/23andme-bankruptcy-puts-
 spotlight-on-genetic-privacy-compliance (Apr. 4, 2025).
                                             18
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 hostile foreign governments obtain Americans’ genetic and medical data, they could

 develop biological weapons targeting the population or food supply, and gain

 significant strategic and economic power over the US.”48 Because some of this genetic

 information has already been wrongfully disseminated through a data breach involving

 the Debtors, there is an even more compelling public interest in ensuring customer

 confidence through independent oversight of the Debtors’ data practices in

 connection with any proposed sale.

        In addition, determining the legality of any such proposed sale will involve not

 only analyzing the Debtors’ current and past privacy policies, but it may also require

 analyzing dozens or more state, federal, and international regulatory schemes. Given

 the aggressive and accelerated sale schedule proposed by the Debtors, even as rightly

 extended by the Court, the Court will benefit from the insight of a neutral subject

 matter expert who can provide objective analysis of these groundbreaking and

 unprecedented (in a bankruptcy court at least) privacy matters. “Even though speed is

 generally prioritized in bankruptcies, the congressional purpose to prioritize privacy

 should not be sacrificed as a result.”49




 48
   Id.
 49
   Note, Data Privacy in Bankruptcy: The Consumer Privacy Ombudsman, 138 HARV. L. REV.
 1451, 1457-58 (Mar. 2025) (footnote omitted).
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 II.    In the Alternative, the Court Should Appoint an Examiner under 11
        U.S.C. § 1104(c)(1) as in the Interests of the Debtors’ Estates, Creditors,
        and Equity Security Holders.

        If this Court declines to order the appointment of a CPO, it nevertheless

 should exercise its discretion and order the appointment of an examiner under section

 1104(c)(1) because the appointment would be in the interests of the Debtors’ estates,

 their creditors, and equity security holders for the same reasons discussed in I.B. supra.

 The overwhelming majority of creditors are its seven million customers whose data

 was compromised in the 2023 cyber-attack. These customers, along with those whose

 data was not compromised but whose data remains in the Debtors’ control, have a

 strong interest in ensuring that their most personal and private data remains secure

 during and after any sale (assuming they have consented to that sale).

        The appointment of an examiner has been held to be particularly appropriate

 when the subject matter of the investigation involves a complex area of law that may

 be beyond the bankruptcy court’s expertise.50 Examiners can also offer “valuable

 perspective” in a “case with many competing interests at stake,” and the need for

 specialized “expertise” constitutes “cause” for the appointment of an examiner. 51

 Given the unique complexities of safeguarding genetic data and the multiple laws that



 50
    See In re Michigan BioDiesel, LLC, 466 B.R. 413, 421 (Bankr. W.D. Mich. 2011)
 (appointing examiner and noting that the court would “appreciate an examiner’s
 independent advice on these complex issues of federal tax and energy policy”).
 51
    First American Health Care of Georgia, Inc. v. U.S. Department of Health and Human
 Services, 208 B.R. 992, 995 (Bankr. S.D. Ga. 1996).
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 apply, this case fits the complex profile weighing in favor of appointing an examiner

 focused on data privacy.

       Moreover, the Debtors have not been transparent about prior privacy policies

 that may still have been “in effect” on the petition date for multiple customers and

 specifically have failed to disclose how many of their customers have not logged in to

 their 23andMe accounts since June 2022, when the privacy policy first contemplated

 allowing the sale of personal data in bankruptcy. That lack of transparency also

 requires a neutral third party to investigate which privacy policies apply to which

 customer’s data and present to the Court, the United States Trustee, and all interested

 parties a report that the Debtors’ customers can understand.

       An examiner (or a CPO) may also benefit creditors and the public by analyzing

 cybersecurity issues and identifying potential cybersecurity vulnerabilities in the

 Debtors’ customer data—as other examiners have previously done in other chapter

 11 cases involving sensitive personal information.52 Indeed, an objective, unbiased,

 and public evaluation of the Debtors’ cybersecurity practices may be essential to

 restoring public consumer confidence in the Debtors’ business model.

       Finally, genuinely enforcing data privacy and cyber-security safeguards may also

 be a value maximizing proposition for the Debtors, their estates, and equity security




 52See, e.g., In re Celsius Network LLC, Case No. 22-10964, ECF No. 1948 (Bankr.
 S.D.N.Y. Jan. 27, 2023) (Consumer Privacy Ombudsman First Report to the Court).
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 holders. Customer data is inherently valuable. 53 Here, the customer data is valuable

 beyond the ordinary case involving, for example, customer lists and contact

 information. One of Debtors’ most significant assets is the genetic data available for

 research purposes and thus potential monetization through its partnerships with other

 businesses and institutions: “the promise shown by the Company’s clinical and

 preclinical stage pipeline demonstrated the potential to license or otherwise monetize

 23andMe’s extensive database to discover new drugs.”54 But if consumers lose further

 confidence in the security of their data, they may delete their accounts and their data,

 further diminishing the value of the Debtors’ assets. Indeed, news reports suggest that

 23andMe customer requests to delete their data or close their accounts surged in the

 wake of the bankruptcy filing:

       According to data from online traffic analysis company Similarweb, on
       March 24, the day of the bankruptcy announcement, 23andMe received
       1.5 million visits to its website, a 526% increase from one day prior.
       According to Similarweb, 376,000 visits were made to help pages
       specifically related to deleting data, and 30,000 were made to the
       customer care page for account closure. The next day, that figure rose to
       1.7 million visits, and traffic to the delete data help page about 480,000.55




 53
    See Cassandra M. Porter, Confessions of a Consumer Privacy Ombudsman, Landslide,
 July/Aug. 2017, at 30 (“Critically, customer data is often among a debtor’s most
 valuable assets.”) (quoted in Note, Data Privacy in Bankruptcy: The Consumer Privacy
 Ombudsman, 138 HARV. L. REV. 1451, 1460 n.86 (Mar. 2025)).
 54
    Kvarda Declaration, Doc. 32, at ¶ 41.
 55
    https://www.cnbc.com/2025/03/30/23andme-bankruptcy-selling-deleting-dna-
 genetic-testing.html, (Mar. 30, 2025).
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 Maximizing the value of any section 363 sale requires complete consumer confidence

 in the security of their data that can only be assured by an independent neutral like an

 examiner (or CPO). Thus, it is in the collective interest of all stakeholders to appoint

 an examiner to investigate and to report on privacy issues should the Court decline to

 appoint a CPO.

 III.   The Debtors Should Not Be Allowed to Short Circuit the Code’s
        Requirements for a Neutral and Independent Privacy Fiduciary.

        Because there are strong grounds for the appointment of either a CPO or an

 examiner under the Bankruptcy Code, the Court should reject the Debtors’ proposal

 to retain a CDR (who would be appointed by, and beholden to, the Debtors) in lieu

 of a statutory fiduciary. Although debtors often take proactive steps to avoid the

 appointment of a CPO, including by submitting their own reports prepared by

 debtor-retained privacy experts or by including “boilerplate language about consumer

 data in sales motions,” 56 a debtor-controlled and debtor-retained privacy expert is

 precisely what Congress sought to avoid when it added section 332 to the Code:

        Congress intended for the ombudsman to be the one checking any
        privacy issues precisely because Congress was distrustful of debtors who
        were abusing the process and selling data in violation of their privacy
        policies. While some of the debtor actions do help alleviate the concern
        for potential abuse by promoting consumer-protective language, these
        actions only give the illusion that the debtor is looking out for
        consumer privacy. An ombudsman hired by the debtor for this
        purpose is not a neutral party like a court-appointed [sic]
        ombudsman. A debtor-hired ombudsman’s job is to convince the court

 56
   Note, Data Privacy in Bankruptcy: The Consumer Privacy Ombudsman, 138 HARV. L. REV.
 1451, 1456 (Mar. 2025).
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          that there are no privacy concerns to worry about in the sale. A court-
          appointed ombudsman would not be concerned with tailoring their
          report to a debtor’s interests because they are not hired by that debtor. 57

          The Debtors purport to take privacy seriously, “given the importance of

 protecting Customer Data, the need for any Sale to close as soon as possible after the

 Sale Hearing, and the privacy and security-related concerns raised by various

 stakeholders, regulators, and other parties in interest in these chapter 11 cases.”58 But

 the Debtors’ proposed CDR lacks some of the most critical features of a CPO or

 examiner—neutrality and independence. That is, the United States Trustee, as the

 neutral and independent watchdog of the bankruptcy system, appoints CPOs (and

 examiners). One must question why the Debtors go to such great lengths to avoid a

 neutral and independent appointment. The answer is surely as explained above: a

 Debtor-appointed privacy professional owes its duties to the Debtors, and its job is to

 convince the Court that the sale presents no privacy concerns and, instead, comports

 with law and the Debtors’ privacy policies. A United States Trustee-appointed privacy

 ombudsman’s or examiner’s duties run to those whose PII and privacy interests are at

 stake—the Debtors’ customers.

          The Court should reject the Debtors’ CDR proposal for another reason. The

 Code provides for two types of professionals to investigate and to report publicly to

 the Court their findings—ombudsmen (sections 332 and 333) and examiners (section


 57
      Id. at 1456–57 (footnote omitted) (emphasis added).
 58
      CDR Motion, ¶ 25.
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 1104). That is it. Although section 363 authorizes a debtor to retain consultants and

 personnel outside the ordinary course of business, it should not be used to evade the

 Code’s express provisions governing CPOs and examiners, which explicitly place the

 discretion of whom to appoint with the United States Trustee to ensure their

 neutrality and independence.

       Lastly, the scope of the proposed CDR investigation and report differs

 materially from the type of investigation that would be performed by either a CPO or

 an examiner. While the CDR will be charged with balancing the interests of customers

 against the interests of the Debtors, a CPO’s investigation is focused on the separate

 question of the “costs and benefits to consumers,” separate and apart from the

 interests of the Debtors.59 A CPO is also charged with examining the Debtors’ privacy

 policies60 and the legality of any proposed sale under nonbankruptcy law,61 matters

 which appear to be outside the proposed scope of the CDR investigation.62 Although

 proposing coordination with “Key Stakeholders,” the Debtors give themselves

 discretion to determine who “Key Stakeholders” are and what access to grant such

 Key Stakeholders, not to mention the United States Trustee and the Creditors’

 Committee, to the CDR. 63



 59 11 U.S.C. § 332(b)(2) (emphasis added).
 60 11 U.S.C. § 332(b)(1).
 61 11 U.S.C. § 363(b)(1)(B)(ii).

 62
    See Debtors’ CDR Motion, Doc. 169 at ¶¶ 17-20.
 63
    Id. at ¶ 20.
                                            25
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        Although the Debtors assert that the appointment of a CPO is not warranted,

 this assertion is based entirely on their self-interested belief that any sale of personal

 information is already authorized by the Privacy Statement—but as explained above,

 it is far from certain that this is true, particularly in the absence of an independent

 investigation of, and report on, the Debtors’ privacy practices. But even if the

 Debtors’ characterization of their privacy policies were correct, the Court retains the

 discretion to appoint a CPO or an examiner in the interests of creditors—and as the

 Debtors’ request for a CDR acknowledges, there is ample cause for such an

 appointment. Finally, if the Court has concerns over the potential costs of a CPO or

 examiner, it may set a budget in connection with its appointment order, and there is

 neither evidence nor reason why a CPO or examiner would necessarily impose a

 greater cost to the estates than the Debtors’ proposed CDR.


                                     CONCLUSION

        The appointment of a CPO or examiner is not a procedural formality in this

 case—it is a necessary measure to safeguard the rights and expectations of millions of

 individuals whose highly sensitive and permanent personal and genetic data now

 stands to be sold. The Debtors’ non-statutory alternative of a CDR is not an adequate

 substitute for a CPO or examiner, and appointment of a CDR would serve no

 purpose except to undermine the Bankruptcy Code’s comprehensive scheme for the

 protection of privacy interests through an independent CPO or examiner and to allow

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 the Debtors to evade the rigorous and required scrutiny of privacy issues before they

 may sell the most personal and private data of millions of customers.

       WHEREFORE, the United States Trustee respectfully requests that the Court

 enter an order directing the appointment of a Consumer Privacy Ombudsman under

 11 U.S.C. §§ 332 and 363(b)(1), or, in the alternative, directing the appointment of an

 examiner under 11 U.S.C. § 1104(c), denying the Debtors’ motion for appointment of

 a CDR, and for such other relief as the Court deems just and proper.

                                         Respectfully submitted,

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                           CERTIFICATE OF SERVICE

         I certify that a true and correct copy of the foregoing document was filed
 electronically on April 10, 2025, with the United States Bankruptcy Court and has
 been served on the parties in interest via e-mail by the Court’s CM/ECF System as
 listed on the Court’s Electronic Mail Notice List.

       I further certify that a true and correct copy of the foregoing document was
 served on April 10, 2025, on the parties listed in and by the method set forth on the
 Master Service List attached at Exhibit A.


                                                /s/ Margaret Slaughter
                                                Paralegal Specialist
                                                Office of the United States Trustee
